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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI ~
EASTERN DIVISION

 

 

 

LAVARN WHITE and
EARVIN WHITE PLAINTIFFS

CIVIL ACTION NO.: 2:22-cv-18-KS-MTP
JIM WALTER HOMES, DITECH,
AFFILIATED DEBTORS,

AMERICIA TRUST LLC, NRZ TRUST VII, and
_U.S. NATIONAL BANK DEFENDANIS

Notice OF BRPPERL

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